ease 1:15-cr-00001-v\/Jl\/l Documem 1 Filed 01/05/15 USDC Colorado 'Fiage 1 of 6

 

IN THE UNITED sTATEs DISTRICT CQURT w t wm
FoR THE DISTRICT oF CoLoRADo ` "` ' '

criminalcaseNo. 1 5 - CR "' @@ 3-

UNITED STATES OF AMERICA,

Plaintiff,

v.

BRIAN G. ELROD,
Defendant.

 

CRIMINAL INFORMATION

 

'l`he United States charges that:

Count 1
(Conspiracy to Commit Wire Fraud and Mail Fraud)

From at least in or about 2009, through in or about March 2011, in the District of
Colorado and elsewhere, the Defendant, BRIAN G. ELROD, knowingly combined, conspired,
confederated, and agreed with others known and unknown, to commit an offense against the
United States, namely:

(a) wire h'aud, that is, to knowingly and with an intent to defraud, devise and intend to devise

a scheme and artifice to defraud, and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises, knowing that

they were false and fraudulent when made; and for the purpose of executing the scheme
and artifice, knowingly transmit and cause certain wire communications to be transmitted

l

Case 1:15-cr-00001-v\/Jl\/l Documemi Filed 01/05/15 USDC Colorado Pa§e'z ofe

in interstate and foreign commerce, in violation of Title 18, United States Code, Section
1343, and;

(b) mail fraud, that is, to knowingly and with an intent to defraud, devise and intend to devise
a scheme and artifice to defraud, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises; and for the
purpose of executing such scheme, knowingly place and cause to be placed in a post
office and authorized deposit for mail matter a thing to be sent and delivered by the U.S.
Postal Service and any private and commercial interstate carrier, in violation of Title 18,
United States Code, Section l34l.

Pu_rpose of the Conspiracy
1. The purposes of the conspiracy were to (a) enrich ELROD and his co-conspirators through
the sale of promissory notes and other financial products to investors located throughout the

United States, including in Denver, Colorado; (b) conceal from investors the true financial

condition of ELROD, his co-conspirators, and the entities ELROD and his co-conspirators

owned and controlled; and (c) conceal from investors the manner in which ELROD and his
co-conspirators were using investor proceeds
Ways, Manners, and Means

2. ln or about 2000, ELROD formed Compass Financial Solutions, LTD (“CFS”). CFS’s
principal offices were located in Denver, Colorado. From in or about 2000 through in or
about January 2011, ELROD operated CFS as a financial services marketing company. CFS
had a sales and marketing staff which sold various financial products to investors located
throughout the United States, including to investors located in Denver, Colorado.

3. From at least in or about 2009 through at least in or about March 2011, ELROD and his co-

Case 1:15-cr-OOOOl-W.J|\/| Document 1 Fi|eo| 01/05/15 USDC Co|orao|o Page 3 of 6

 

conspirators marketed and sold promissory notes that were purportedly guaranteed by CFS.
In addition, ELROD and CFS sold millions of dollars in notes on behalf of other individuals
and entities, for which ELROD and CFS’s sales staff received sales commissions

4. With respect to the promissory notes that were purportedly guaranteed by CFS, ELROD and
his co-conspirators promised investors high returns through monthly interest payments, and
represented to investors that the proceeds from the notes would be used for the operating
expenses and expansion of CFS. However, ELROD and his co-conspirators instead used the
investors’ funds primarily for: (l) interest and principal payments on promissory notes taken
out by earlier investors; (2) salary, bonuses, and personal expenses for ELROD and
ELROD’s family; and (3) payments to ELROD’s co-conspirators.

5. At no time during CFS’s operations did either CFS or ELROD make enough money to make
timely interest and principal payments to CFS’s investors As a result, in or about August
2010, CFS and ELROD began defaulting on the promissory notes that were purportedly
guaranteed by CFS.

6. Because CFS was financially insolvent, ELROD, co-conspirator K.B., and others, agreed
together to have K.B. assume CFS’s obligations to investors under the notes. To induce
CFS’s investors to agree that (l) K.B. could assume CFS’s obligations under the notes and
(2) K.B. could delay making interest and principal payments to the investors, ELROD, K.B.
and their co-conspirators provided investors With fraudulent documents which falsely
claimed that K.B. had 500 million Euros in his company’s overseas bank account.

7. On or about September l4, 2010, co-conspirator K.B. mailed two fraudulent documents from
Corona, California, to ELROD in Buffalo Creek, Colorado which falsely stated that K.B.

possessed 500 million Euros in his company’s overseas bank account.

ease 1:15-cr-00001-v\/Jl\/l Documem 1 Filed 01/05/15 USDC Colorado "¢Fi>age 4 of 6

8. Later in or about 2010, ELROD, co-conspirator K.B., and their co-conspirators, marketed
and sold additional promissory notes to investors which were purportedly guaranteed by
K.B. To induce investors to purchase themnotes guaranteed by K.B., ELROD, K.B., and
other co-conspirators again falsely represented to investors, by showing them fraudulent
documents, that K.B. possessed millions of Euros in his company’s overseas bank account.

9. ELROD, co-conspirator K.B., and other co-conspirators also falsely told investors that the
proceeds raised from the notes purportedly guaranteed by K,B. would be used to “release”
the millions of Euros purportedly held by K.B.

10. To disguise from investors the fact that the proceeds from the notes were not in fact going to
be used to “release” the millions of Euros supposedly held by co-conspirator K.B. in overseas
accounts, ELROD, K.B., and their co-conspirators agreed to have investors wire their funds
to co-conspirator B.D.’s attorney trust account. For example, on or about August 16, 2010,
in Chafield, Colorado, ELROD caused victim-investor C.G. to wire approximately $100,000
from C.G.’s account at U.S. Bank, to co-conspirator B.D.’s attorney trust account. The next
day, on or about August 17 , 2010, ELROD caused the same 3100,000 of funds to be wired to
an account controlled by ELROD.

ll. As a result of ELROD’s conduct, ELROD and his co-conspirators caused over $2,500,000 in
losses to investors

(All in violation of Title 18, United States Code, Section 1349.)

 

ease 1:15-cr-00001-v\/Jl\/l Documem1 Filed 01/05/15 usD€Colorado Page50f6

Forfeiture Allegation

12. Upon conviction of conspiracy to commit Wire and mail fraud, alleged in Count l of this
lnformation, the Defendant BRIAN G. ELROD shall forfeit to the United States pursuant to
Title 18, United States Code, Sections 981(a)(l)(C), l956(c)(7), and 1961(1), and Title 28,
United States Code, Section 2461(c), all property constituting or derived from proceeds
traceable to the commission of the offenses or conspiracy, including but not limited to a sum
of money equal to $2,586,261.01 in United States currency.

l3. Pursuant to Title 18, United States Code, Section 982(b)(l) and Title 28, United States Code,
Section 246l(c), incorporating Title 21, United States Code, Section 853(p), ELROD shall
forfeit substitute property, up to the value of the amount described in paragraph 12, if, by
any act or omission of ELROD, the property or any portion thereof, cannot be located upon
the exercise of due diligence; has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court; has been substantially diminished in
value; or has been commingled with other property which cannot be divided without
difficulty, it is the intent of the United States, pursuant to, to seek forfeiture of any other

property of ELROD up to the value of the forfeitable property described above.

(All in accordance with Title 18, United States Code, Section 981(a)(l)(C), Title 28, United
States Code, Section 246l(c), Title 21, United States Code, Section 853(p), and Federal Rule
Criminal Procedure 32.2(a).)

WlLLlAM J. STELLMACH
AC ING CHIEF, FRAUD SECTION

nnifer . Ball/anW

Trial orney
Criminal Division, Fraud Section
United States Department of Justice

  
  
  

By:

 

   
 

ease 1:15-cr-00001-v\/Jl\/l Documem1 Filed 01/05/15 usD'cCo`lorado Page eofe

Henry Van Dyck

Trial Attorney

Criminal Division, Fraud Section
United States Department of Justice

